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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION


In re:
                                                          Chapter 7
NEW ENGLAND CONFECTIONERY
COMPANY, INC.

                                   Debtor.                Case No. 18-11217-MSH


                 ORDER REGARDING OMNIBUS OBJECTION TO CLAIMS

         This matter having come before the Court on the First Omnibus Objection to Claims by

Chapter 7 Trustee [docket no. 854] (the “Omnibus Objection”)1 filed by Harold B. Murphy, the

Chapter 7 Trustee of New England Confectionery Company, Inc. (the “Trustee”); the Trustee

having duly served the Omnibus Objection [docket no. 856, 857]; the Court having issued a

notice of non-evidentiary hearing with respect to the Omnibus Objection [docket no. 858]; due

notice of the scheduled hearing on the Omnibus Objection, including the response deadline with

respect thereto, having been given by the Trustee [docket no. 862]; one response to the Omnibus

Objection having been filed [docket no. 853]; the Trustee having filed a report and hearing

agenda pursuant to Massachusetts Local Bankruptcy Rule 3007-1 with respect to the Omnibus

Objection; the Court having jurisdiction over the Omnibus Objection pursuant to 11 U.S.C.

§ 1334; the Omnibus Objection being a core matter pursuant to 28 U.S.C. § 157(b)(2)(B); and

due cause appearing therefor, it is hereby ORDERED that:

                      x   Claim No. 133 of ADDCO Incorporated is hereby disallowed and
                          expunged;



1
  Capitalized terms not otherwise defined herein, shall have the meanings ascribed to them in the Omnibus
Objection.
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                 x   Claim No. 14 of Co-Sales Northern Calif. is hereby disallowed and
                     expunged;

                 x   Claim No. 145 of Customized Energy Solutions is hereby allowed as a
                     non-priority unsecured claim in the amount of $51,278.12;

                 x   Claim No. 163 of Dillon Boiler Services Co., Inc. is hereby disallowed
                     and expunged;

                 x   Claim No. 57 of Dynamic Packaging is hereby allowed as a non-priority
                     unsecured claim in the amount of $14,463.00;

                 x   Claim No. 117 of Great Northern Insurance Co. is hereby disallowed and
                     expunged;

                 x   Claim No. 27 of Hockenburg Newburgh Sales and Marketing is hereby
                     allowed as a non-priority unsecured claim in the amount of $4,989.72;

                 x   Claim No. 66 of Industrial Silo Source Inc. is hereby allowed as a non-
                     priority unsecured claim in the amount of $29,172.66;

                 x   Claim No. 3 of Mancini Sales & Marketing is hereby allowed as a non-
                     priority unsecured claim in the amount of $22,086.82;

                 x   Claim No. 90 of McIntosh Box & Pallet Co. Inc. is hereby allowed as a
                     non-priority unsecured claim in the amount of $19,243.90;

                 x   Claim No. 164 McIntosh Box & Pallet Co. Inc. is hereby disallowed and
                     expunged;

                 x   Claim No. 91 of Michael J. Kelley is hereby disallowed and expunged;
                     and

                 x   Claim No. 129 of Sixto Packaging Managing Agent is hereby allowed as a
                     non-priority unsecured claim in the amount of $76,782.87.




Dated: May 5, 2021                                __________________________
                                                  Melvin S. Hoffman
                                                  United States Bankruptcy Judge




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